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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


 CONSUMER FINANCIAL PROTECTION
 BUREAU, et al.

                         Plaintiffs,                   Case No. 24-cv-00040-EAW-MJR

 vs.

 STRATFS, LLC f/k/a STRATEGIC
 FINANCIAL SOLUTIONS, LLC, et al.

                         Defendants, and

 DANIEL BLUMKIN, et al.,

                         Relief Defendants.



       DECLARATION OF JOSEPH O’DONNELL IN SUPPORT OF EMERGENCY
         MOTION FOR AN ORDER TO SHOW CAUSE WHY INTERVENING
            LAW FIRMS SHOULD NOT BE HELD IN CIVIL CONTEMPT

         I, Joseph O’Donnell, declare under penalty of perjury and pursuant to 28 U.S.C. § 1746

that the following is true and correct:

         1.      I am the Vice President of Operations and Human Resources for StratFS

(“Strategic”).

         2.      I have personal knowledge of the facts set forth in this Declaration and if called as

a witness, I could and would competently testify to the facts stated herein.

         3.      I submit this declaration in connection with an Emergency Motion for an Order to

Show Cause Why Intervenor Law Firms Should Not Be Held in Civil Contempt.

         4.      On Friday, May 3, 2024, I was monitoring the Strategic Customer Services team

chat, when an agent posted a question about how to handle a call from a client, where the client

had received a voicemail purportedly from someone representing the law firm. The client was

calling our Customer Service line to return the call and find out what it was regarding. After a


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couple more agents indicated that had received similar calls with the same problem, I

investigated.

        Law Firm Telephone Outreach to Consumers

        5.      I researched the clients in Strategic’s customer service system – Salesforce – to

ensure that no Strategic service agent had attempted to reach out to the clients, and that we had

no documentation of that outreach. Finding none, I proceeded to the next, upstream system,

NDS Leadtrac Fusion, where Strategic personnel have access to additional activity and system

notes of Strategic activities and also activities of the related law firms.

        6.      In the expanded logs showing law firm activity, I was able to see notes which

reflected law firm telephone outreach to consumers. In particular, I observed notes from agents

with CCU1 (an entity not affiliated with Strategic and with which I am not familiar) who had

reached out to clients via telephone calls. I observed notes created by several agents from

CCU1. These include phone call notes reflecting “Action: Call Center attempt 1” and

“Contingency Sign Up changed to Call Center attempt 1” where X is the number of the most

recent attempt to reach the client by phone. See Exhibit 1.

        7.      I contacted the Receiver about these discoveries. He asked that we conduct a

limited search to determine if the calls appear to be part of general outreach efforts or whether

the outreach calls I described were in response to client inquiries to the law firms. I and three

customer service representatives then undertook an abbreviated review for approximately one

hour. We found instances in which more than 30 clients had received similar law firm telephone

outreach between April 29 and May 3, 2024. None of the outreach appears to be in response to

client-initiated contact – in other words, we did not see any notes reflecting that the clients had

contacted the law firms prior to the outreach calls.




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        8.      I believe it is likely many more law firm clients received these outreach calls from

the law firms. Specifically, the NDS Leadtrac Fusion system (which is paid for and operated by

Strategic) only has a copy of the log entry from the system where the activity occurred – NDS

Leadtrac Middleware (under the ownership and direction of the law firms). As a result,

Strategic’s access to this information is somewhat limited, and I am unable able to run a system-

wide report to identify all the consumers receiving these communications. The 30 clients

identified were located via “hunt-and-peck” style searching by myself and the three agents and

likely represent only a small portion of the consumers who have received these communications.

        Law Firm Emails to Clients re: “Urgent Matter”

        9.      In the course of our review, we also observed in the NDS Leadtrac Fusion system

notes reflecting that in addition to the outreach calls the law firms continue to send clients emails

(often every two days) with the heading “Subject: [client name] Urgent Matter Reminder.” Based

on the notes, these emails do not appear to be in response to client-initiated contact – in other

words, we did not see any notes reflecting that the clients had contacted the law firms prior to the

email contact. Attached hereto as Exhibit 2 is a true and correct copy of three example consumer

logs, each of which tracks contacts made by the law firms to a particular client. For instance, the

consumer log pasted below indicates that the latest email sent Consumer #1 (information

redacted for to protect consumer privacy) was just last Friday, May 3, 2024, with the subject

“Consumer #1 Urgent Matter Reminder.” The log indicates the law firm sent similar “Urgent

Reminder” emails to Consumer #1 on April 9th, April 11th, April 12th, April 13th, April 15th, April

17th, April 19th, April 21st, April 23rd, April 26th, April 27th, April 29th, May 1st, and May 3rd.

Based on the consumer logs I reviewed, it appears that the law firms are sending these “Urgent




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Reminder” emails to consumers often sometimes, as reflected below (and in Exhibit 2), once

every two days.




       10.     Again, because of Strategic’s access limitations I am unable to run a system-wide

report to identify all the consumers receiving these emails. Similar to the findings of the call

outreach (¶¶ 6 and 7 above), it seems very likely these clients represent only a small portion of

the consumers who were sent these emails.

       Executed this 6th day of May, 2024, in Buffalo, New York.



                                              Joseph O’Donnell




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